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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

  TERRENCE M. GORE,                         §
                                            §
               Plaintiff,                   §
                                            §
  V.                                        §           No. 3:23-cv-1199-E-BN
                                            §
  TRANS UNION LLC, ET AL.,                  §
                                            §
               Defendants.                  §

        FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE
                  UNITED STATES MAGISTRATE JUDGE

        Through a pro se amended complaint filed after Defendant Trans Union LLC

  (“TU”) removed this lawsuit to federal court, Plaintiff Terrence M. Gore asserted

  claims under the Fair Debt Collections Practice Act (“FDCPA”) and Chapter 20 of the

  Texas Business and Commerce Code (“TBCC”). See Dkt. No. 38.

        After this pleading was filed, TU answered, see Dkt. No. 39, and moved for

  judgment on the pleadings under Federal Rule of Civil Procedure 12(c) and dismissal

  of Gore’s claims because those claims are barred by res judicata, see Dkt. No. 67-69.

        Management of this lawsuit was then transferred to the undersigned United

  States magistrate judge under 28 U.S.C. § 636(b) and a standing order of reference

  from United States District Judge Ada Brown. See Dkt. No. 74.

        The undersigned entered findings of fact and conclusions of law recommending

  that the Court grant the motion for judgment on the pleadings and enter judgment

  dismissing Gore’s claims [Dkt. No. 85] (the “FCR”).

        Over Gore’s objections, the Court accepted the FCR and entered judgment
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  granting the Rule 12(c) motion and dismissing this lawsuit without prejudice to it to

  being refiled if the state trial court’s decision on which res judicata is based is

  reversed on appeal. See Dkt. Nos. 85 & 87-91.

        Gore then appealed, and his appeal was dismissed for want of prosecution. See

  Dkt. Nos. 99 & 100.

        And, under Federal Rule of Civil Procedure 54(d)(2) and the TBCC, TU moves

  for its attorneys’ fees and costs. See Dkt. Nos. 93-95. It also moves for a hearing on

  this request. See Dkt. Nos. 101 & 102. And Gore moves to extend his time to respond

  (and subsequently responded to the request). See Dkt. Nos. 103 & 104.

        The undersigned now enters these findings of fact, conclusions of law, and

  recommendation that, for the reasons and to the extent set out below, the Court

  should grant TU’s requests for attorneys’ fees and costs and deny as moot its motion

  for a hearing and Gore’s request for an extension. Cf. FED. R. CIV. P. 54(d)(2)(D)

  (“[T]he court may refer … a motion for attorney’s fees to a magistrate judge under

  Rule 72(b) as if it were a dispositive pretrial matter.”).

                                     Legal Standards

        Texas law applies to TU’s request for fees as a prevailing party on a claim made

  under Texas law. See Ingalls Shipbuilding v. Fed. Ins. Co., 410 F.3d 214, 230 (5th

  Cir. 2005) (“The award of attorneys’ fees is governed by the law of the state whose

  substantive law is applied to the underlying claims.” (footnote omitted)); accord

  Mathis v. Exxon Corp., 302 F.3d 448, 461 (5th Cir. 2002) (“State law controls both the

  award of and the reasonableness of fees awarded where state law supplies the rule of




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  decision.”).

         “In Texas, parties are generally required to pay their own attorney’s fees unless

  a statute or contract provides otherwise.” D2 Excavating, Inc. v. Thompson Thrift

  Constr., Inc., No. 21-40629, 2023 WL 3562992, at *3 (5th Cir. May 19, 2023) (per

  curiam) (citing In re Nat’l Lloyds Ins. Co., 532 S.W.3d 794, 809 (Tex. 2017); footnote

  omitted).

         And TU moves for fees under a statute, the TBCC, which “mandates an

  attorney’s fee award for the ‘prevailing party.’” Gore v. Trans Union LLC, No. 05-23-

  00659-CV, 2024 WL 4449499, at *6 (Tex. App. – Dallas Oct. 9, 2024, time to file pet.

  extended to Mar. 31, 2025) (quoting TEX. BUS. & COM. CODE § 20.08(c); rejecting

  Gore’s argument that this provision of Texas law was preempted by federal law; and

  affirming the award of fees to TU as a prevailing party).

         And “Texas law is settled that a defendant who successfully defends against

  an affirmative claim and secures a take-nothing judgment qualifies as a prevailing

  party.” Shallenberger v. Croghan Family, LLC, No. 7:18-cv-55-M-BP, 2020 WL

  10050771, at *13 (N.D. Tex. May 1, 2020) (citing Rohrmoos Venture v. UTSW DVA

  Healthcare, LLP, 578 S.W.3d 469, 486 (Tex. 2019)).

         But, “[u]nder Texas law, ‘if any attorney’s fees relate solely to a claim for which

  such fees are unrecoverable, a claimant must segregate recoverable from

  unrecoverable fees.’” Thomas v. Hughes, 27 F.4th 995, 1020 (5th Cir. 2022) (quoting

  Tony Gullo Motors I, L.P. v. Chapa, 212 S.W.3d 299, 313 (Tex. 2006)).

         And, under Texas law, a prevailing party authorized “to obtain attorney’s fees




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  from the opposing party” still “must prove that the requested fees are both reasonable

  and necessary.” Aircraft Holding Sols., LLC v. Learjet, Inc., No. 3:18-cv-823-D, 2023

  WL 5311486, at *3 (N.D. Tex. Aug. 17, 2023) (quoting Rohrmoos, 578 S.W.3d at 489

  (citing Nat’l Lloyds, 532 S.W.3d at 809)).

                The preferred method of federal courts calculating reasonable
        attorneys’ fees under Texas law is the lodestar method. See Fairmont
        Specialty Ins. Co. v. Apodaca, 234 F. Supp. 3d 843, 852 (S.D. Tex. 2017)
        (citing Rappaport v. State Farm Lloyds, 275 F.3d 1079 (5th Cir. 2001)
        (per curiam)). The lodestar method is a two-step process. Combs v. City
        of Huntington, 829 F.3d 388, 391 (5th Cir. 2016). First, courts calculate
        the lodestar by multiplying the “number of hours reasonably expended
        ... by the prevailing hourly rate in the community for similar work.” Id.
        at 392 (internal quotation marks omitted).

  Wease v. Ocwen Loan Servicing, No. 3:13-cv-4107-B, 2021 WL 4991079, at *2 (N.D.

  Tex. Oct. 27, 2021).

        There is a strong presumption of the reasonableness of the lodestar amount.

  See Perdue v. Kenny A., 559 U.S. 542, 552 (2010); Saizan v. Delta Concrete Prods.,

  Inc., 448 F.3d 795, 800 (5th Cir. 2006).

        And, “[i]f a party does not object to particular billing entries as inadequately

  documented, the court is not obligated sua sponte to sift through fee records searching

  for vague entries or block billing. It is a common practice for courts to address only

  those potentially inadequate entries brought to the court’s attention.” Hoffman v. L

  & M Arts, No. 3:10-cv-953-D, 2015 WL 3999171, at *5 (N.D. Tex. July 1, 2015).

        After calculating the lodestar, “Texas courts then apply the eight Arthur

  Andersen factors to determine whether the lodestar should be adjusted.” Wease, 2021

  WL 4991079, at *2 (citing Arthur Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d

  812, 818 (Tex. 1997); footnote omitted).


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           These factors are:

           (1) the time and labor required, the novelty and difficulty of the
           questions involved, and the skill required to perform the legal service
           properly;
           (2) the likelihood ... that the acceptance of the particular employment
           will preclude other employment by the lawyer;
           (3) the fee customarily charged in the locality for similar legal services;
           (4) the amount involved and the results obtained;
           (5) the time limitations imposed by the client or by the circumstances;
           (6) the nature and length of the professional relationship with the client;
           (7) the experience, reputation, and ability of the lawyer or lawyers
           performing the services; and
           (8) whether the fee is fixed or contingent on results obtained or
           uncertainty of collection before the legal services have been rendered.

  Id. at *2 n.7 (formatting modified; quoting Arthur Andersen, 945 S.W.2d at 818).

           “[T]he base lodestar figure accounts for most of the relevant Arthur Andersen

  considerations.” Rohrmoos, 578 S.W.3d at 500.

           And “[t]he relevant factors are similar to those articulated in Johnson[ v.

  Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), overruled on

  other grounds by Blanchard v. Bergeron, 489 U.S. 87, 90 (1989).]” El Campo Ventures

  LLC v. Stratton Secs. Inc., No. 1:20-CV-00560-RP, 2022 WL 1518926, at *4 (W.D. Tex.

  Feb. 1, 2022) (footnote omitted), rec. adopted, 2022 WL 17735386 (W.D. Tex. Aug. 23,

  2022).

           And, in the end, the Court need only “provide a reasonably specific explanation

  for all aspects of a fee determination.” Portillo v. Cunningham, 872 F.3d 728, 741 (5th

  Cir. 2017) (cleaned up). So “rulings on fee awards need not ‘be so excruciatingly

  explicit’ that those decisions ‘consume more paper than did the cases from which they

  arose.’” Saldivar v. Austin Indep. Sch. Dist., 675 F. App’x 429, 432-33 (5th Cir. 2017)

  (per curiam) (quoting In re High Sulfur Content Gasoline Prods. Liab. Litig., 517 F.3d


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  220, 228-29 (5th Cir. 2008)). Instead, this Court’s “analysis [must be] ‘complete

  enough’ for [the United States Court of Appeals for the Fifth Circuit] to review

  ‘whether the [C]ourt has used proper factual criteria in exercising its discretion to fix

  just compensation.’” Id. (quoting Brantley v. Surles, 804 F.2d 321, 325-26 (5th Cir.

  1986)).

        “Federal Rule of Civil Procedure 54(d)(1) permits a district court to provide

  costs, other than attorney’s fees, to the ‘prevailing party.’” Mercer v. Patterson-UTI

  Drilling Co., L.L.C., 717 F. App’x 400, 406 (5th Cir. 2017) (per curiam). And, in this

  circuit, the “rule is that: Unless a federal statute, the Federal Rules, or a court order

  provides otherwise, costs – other than attorney’s fees – should be allowed to the

  prevailing party.” Vital v. Nat’l Oilwell Varco, L.P., 685 F. App’x 355, 360 (5th Cir.

  2017) (per curiam) (cleaned up); see also Cheatham v. Allstate Ins. Co., 465 F.3d 578,

  586 (5th Cir. 2006) (“There is a strong presumption under Rule 54(d)(1) that the

  prevailing party will be awarded costs.”).

        28 U.S.C. “§ 1920 defines the term ‘costs’ as used in Rule 54(d).” Crawford

  Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 441 (1987). And the United States

  “Supreme Court has indicated that federal courts may only award those costs

  articulated in section 1920 absent explicit statutory or contractual authorization to

  the contrary.” Cook Children’s Med. Ctr. v. The N. Engl. PPO Plan of Gen.

  Consolidation Mgmt. Inc., 491 F.3d 266, 274 (5th Cir. 2007) (cleaned up).

        “Taxable costs are limited to relatively minor, incidental expenses as is evident

  from § 1920” and “are a fraction of the nontaxable expenses borne by litigants for




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  attorneys, experts, consultants, and investigators,” such that “costs almost always

  amount to less than the successful litigant’s total expenses in connection with a

  lawsuit.” Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S. 560, 563 (2012) (cleaned up).

  In short, “taxable costs are limited by statute and are modest in scope.” Id.

        The party seeking recovery of costs bears the “burden of justifying the necessity

  of obtaining the depositions and copies at issue.” Fogleman v. ARAMCO (Arabian Am.

  Oil Co.), 920 F.2d 278, 286 (5th Cir. 1991). And the Court “may decline to award the

  costs listed in the statute but may not award costs omitted from the list.” Coats v.

  Penrod Drilling Corp., 5 F.3d 877, 891 (5th Cir. 1993) (cleaned up). That is,

        a district court may, but is not required to, deny a prevailing party costs
        where suit was brought in good faith and denial is based on at least one
        of the following factors: “(1) the losing party’s limited financial
        resources; (2) misconduct by the prevailing party; (3) close and difficult
        legal issues presented; (4) substantial benefit conferred to the public;
        and (5) the prevailing party’s enormous financial resources.”

  Smith v. Chrysler Grp., L.L.C., 909 F.3d 744, 753 (5th Cir. 2018) (quoting Pacheo v.

  Mineta, 448 F.3d 783, 794 (5th Cir. 2006) (citing 10 CHARLES ALAN WRIGHT & ARTHUR

  R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 2668 at 234 (1998))).

        In Pacheo, the Fifth Circuit “withheld judgment on whether ‘any of the above

  factors is a sufficient reason to deny costs.’” Smith, 909 F.3d at 753 (cleaned up;

  quoting Pacheo, 448 F.3d at 794 n.18). But the Court of Appeals later held that a

  district court may not deny a prevailing party “its costs because of its comparative

  ability to more easily bear the costs” – a holding that “is especially applicable in the

  light of the ‘strong presumption that the prevailing party will be awarded costs.’” Id.

  (quoting Pacheco, 448 F.3d at 793). And the Fifth Circuit has “never held that the



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  ‘limited resources’ of the losing party provide a basis for denying the prevailing party

  its costs.” U.S. ex rel. Long v. GSDMIdea City, L.L.C., 807 F.3d 125, 130 (5th Cir.

  2015) (citation omitted).

                                         Analysis

        The Court’s granting TU’s Rule 12(c) motion as to Gore’s claims in this case,

  made under the TDCPA and Chapter 20 of the TBCC, renders it a prevailing party,

  to allow recovery of attorneys’ fees under the TBCC and costs under Rule 54(d)(1).

        Starting with fees, TU seeks to recover $57,128.60, an amount supported by

  billing records attached to the declaration of its counsel; the records are supported by

  narrative descriptions of the work done and the number of hours that it took to

  complete the work (248.4 hours over approximately one year); and counsel’s

  declaration reflects hourly rates that the undersigned finds to be reasonable and

  within the market rate for attorneys handling this type of litigation in the Dallas

  area. See Dkt. No. 95.

        And Gore neither challenges the hourly rates nor any billing entry. See Dkt.

  No. 104.

        And, so, having carefully reviewed the billing records, the undersigned finds

  the number of hours to be reasonable and necessary and not excessive, duplicative,

  or inadequately documented. And the undersigned finds that the appropriate lodestar

  here to be calculated as 248.4 hours at a blended hourly rate of approximately

  $229.99, for a total of $57,128.60.

        And, while the undersigned has considered the Arthur Andersen factors, the




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  lodestar is presumed to be reasonable and should only be modified in exceptional

  cases. So the undersigned determines that no enhancement is warranted under the

  circumstances and that there are no other exceptional circumstances.

        As to any need to segregate recoverable from unrecoverable fees, TU’s counsel

  testifies that, because Gore’s “claims were inseparable for Trans Union’s defense of

  this lawsuit,” “it would be impossible to segregate Trans Union’s attorneys’ fees and

  costs between defense of his causes of action under Chapter 20 of the TBCC and his

  other claims.” Dkt. No. 95-1, ¶ 14. Gore fails to address segregation in his opposition.

  And the undersigned finds this sworn statement sufficient under these

  circumstances.

        “Generally, parties seeking attorneys’ fees are required to segregate their fees

  between recoverable and non-recoverable claims.” Wease, 2021 WL 4991079, at *4

  (citing Chapa, 212 S.W.3d at 311). But, while “[i]ntertwined facts alone do not make

  fees for unrecoverable claims recoverable,” “fees need not be segregated where

  ‘discrete legal services advance both a recoverable and unrecoverable claim.’” Id.

  (quoting Chapa, 212 S.W.3d at 313-14; citation omitted). Regardless, “[t]he party

  seeking to recover attorneys’ fees bears the burden of demonstrating segregation is

  not required.” Id. (citation omitted).

        Even so, “[s]egregation evidence need not be extensive to be sufficient.”

  Anderton v. Green, No. 05-19-01294-CV, 2021 WL 1115549, at *3 (Tex. App. – Dallas

  Mar. 24, 2021, no pet.) (citing Chapa, 212 S.W.3d at 314). And “[a]n attorney need

  not keep separate time records; rather, ‘it is sufficient to submit to the fact-finder




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   testimony from a party’s attorney concerning the percentage of hours that related

   solely to a claim for which fees are not recoverable.’” Id. (quoting RM Crowe Prop.

   Servs. Co., L.P. v. Strategic Energy, L.L.C., 348 S.W.3d 444, 453 (Tex. App. – Dallas

   2011, no pet.) (citing Chapa, 212 S.W.3d at 314).

          In short, at least for this case, counsel’s sworn statement is sufficient evidence

   as to any burden to segregate fees, particularly where the Court dismissed all claims

   as barred by res judicata.

          The undersigned has also carefully reviewed Gore’s opposition and finds that

   he makes no credible arguments to defeat TU’s reasonable fees request.

          Turning to costs, TU seeks to recover the filing fee in the district court

   associated with its removal ($402) and $410.17 that it paid to Veritext, LLC, related

   to Gore’s deposition. See Dkt. No. 95-2. Gore raises no objections specific to these

   costs. And the undersigned finds that both are taxable.

          Fees charged by the clerk are recoverable under Section 1920(1). And Section

   1920(2) authorizes recovery of the costs of a transcript so long as, at the time that the

   transcript was made, it could reasonably be expected to be used during trial or for

   trial preparation, rather than for the mere convenience of counsel or merely for

   discovery. See Allstate Ins. Co. v. Plambeck, 66 F. Supp.3d 782, 790 (N.D. Tex. 2014).

          In sum, the Court should grant TU’s requests for attorneys’ fees and costs in

   its entirety.

                                     Recommendation

          The Court should grant Defendant Trans Union LLC’s Motion for Award of




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   Attorneys’ Fees and Costs [Dkt. No. 93], award TU attorneys’ fees of $57,128.60 and

   costs of $812.17 against Plaintiff Terrence M. Gore, and deny as moot TU’s motion

   for a hearing [Dkt. No. 101] and Gore’s request for an extension [Dkt. No. 103].

         A copy of these findings, conclusions, and recommendation shall be served on

   all parties in the manner provided by law. Any party who objects to any part of these

   findings, conclusions, and recommendation must file specific written objections

   within 14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV.

   P. 72(b). In order to be specific, an objection must identify the specific finding or

   recommendation to which objection is made, state the basis for the objection, and

   specify the place in the magistrate judge’s findings, conclusions, and recommendation

   where the disputed determination is found. An objection that merely incorporates by

   reference or refers to the briefing before the magistrate judge is not specific. Failure

   to file specific written objections will bar the aggrieved party from appealing the

   factual findings and legal conclusions of the magistrate judge that are accepted or

   adopted by the district court, except upon grounds of plain error. See Douglass v.

   United Servs. Auto. Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).

         DATED: January 31, 2025




                                           _________________________________________
                                           DAVID L. HORAN
                                           UNITED STATES MAGISTRATE JUDGE




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